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                           IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                   SAN ANTONIO DIVISION


GROVANO INC., individually and on behalf of
all others similarly situated,

              Plaintiff,
                                                   Case No: 5:24-cv-00519-JKP-HJB
v.

SECURE ONE CAPITAL CORPORATION

              Defendant.


     [PROPOSED] ORDER GRANTING ATTORNEY PAULINA ALMANZA AND
      ALMANZA TERRAZAS PLLC’S MOTION TO WITHDRAW AS COUNSEL
                          FOR PLAINTIFF

        Before the Court is Paulina Almanza and Almanza Terrazas PLLC’s Motion to

Withdraw as Counsel for Plaintiff, Mark Ortega (the “Motion”).

        Upon consideration, the Court finds that the Motion should be, and hereby is,

GRANTED.

        It is ORDERED that Paulina Almanza and the law firm of Almanza Terrazas PLLC

are hereby WITHDRAWN as counsel of record in this matter for Plaintiff Mark Ortega.




Date: ____________________                     _________________________________
                                               HONORABLE JUDGE
